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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF NEW YORK


Javier Monge                                     22-cv-6678 (DLI)
      Plaintiff,
vs.

Allied Jackson Heights, LLC and
Jackson Heights Stationery, Inc.
      Defendants.




     NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)


       Pursuant to F.R.C.P 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the Plaintiff,
through his undersigned counsel, hereby gives notice that the above-captioned action is
voluntarily dismissed, with prejudice, against the defendants.

June 5, 2023                                         /s/ Jennifer Tucek
                                                     Jennifer E. Tucek, Esq.
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